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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                         Tallahassee Division
_________________________________
                                   )
JAC’QUANN (ADMIRE)                 )
HARVARD, et al.,                   )
                                   )
          Plaintiffs,              )
                                   )
v.                                 ) Case No.: 4:19-cv-00212-AW-MAF
                                   )
RICKY DIXON, et al.,               )
                                   )
          Defendants.              )
_________________________________ )


     NOTICE OF LACK OF SUBJECT MATTER JURISDICTION AND
        REQUEST FOR CASE MANAGEMENT CONFERENCE

       Pursuant to their legal and ethical obligations under federal law, Plaintiffs, by

and through their counsel, hereby notify the Court that it no longer appears to have

subject matter jurisdiction over five of the seven individual Plaintiffs’ claims due to

the absence of a continuing case or controversy with respect to their individual

claims for relief.1


1
  In researching this unusual procedural posture, the cases Plaintiffs found discussed attorneys’
duty to “inform” or “advise” the Court of an absence of continuing case or controversy. See,
e.g., Alvarez Perez v. Sanford-Orlando Kennel Club, Inc., 518 F.3d 1302, 1304 (11th Cir. 2008)
(citing approvingly Merkle v. Guardianship of Jacoby, 912 So.2d 595, 600 (Fla. 2d DCA 2005)
(“During the pendency of an appeal, the duty of candor imposes an obligation on counsel to
notify the court of any development that may conceivably affect the outcome of the litigation,
including facts that may raise a question of mootness.”); id. (citing approvingly 84 Lumber Co. v.
Cooper, 656 So.2d 1297, 1300 (Fla. 2d DCA 1994) (“We strongly emphasize, therefore, an
attorney's ethical obligation, as an officer of the court, to immediately raise before a trial court

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       Plaintiffs filed this case as a putative class action for injunctive and

declaratory relief on May 8, 2019, alleging that Defendants’ use of solitary

confinement violates the Eighth Amendment, Americans with Disabilities Action,

and Section 504 of the Rehabilitation Act. ECF 1. At the time Plaintiffs filed this

case, all Named Plaintiffs were subject to long-term Restrictive Housing in the

Florida Department of Corrections. However, over the course of the litigation,

Defendants have transferred Plaintiffs Harvard, Burgess, Espinosa, Kendrick, and

Jeremiah Hill out of solitary confinement. While that did not render their injunctive

relief claims moot insofar as they were serving as representatives for the putative

class, following the Court's denial of class certification on July 25, 2022, ECF 419,

their claims now appear moot, divesting this Court of subject matter jurisdiction.

       Counsel has a continuing duty of candor to inform the Court when there are

developments that “could have the effect of depriving the Court of jurisdiction due



the fundamental issue of lack of subject matter jurisdiction, after it becomes apparent ....”)); Sims
v. State of Fla., Dep't of Highway Safety & Motor Vehicles, 862 F.2d 1449, 1463 (11th Cir.
1989) (Tjoflat, dissenting) (“Sims’ attorney should have advised the court of this development
immediately.”). Plaintiffs considered and broached with Defendants filing a motion for
voluntary dismissal, but if the Court no longer has subject matter jurisdiction, such a motion does
not appear appropriate. See, e.g., Burns v. Superior Goods Inc., 2021 WL 512238, *8-9 (N.D.
Ala. Feb. 11, 2011) (“[I]f there is reason for a court to believe that it does not have subject matter
jurisdiction, the court must address that issue before ruling on a motion for voluntary
dismissal.”) (emphasis in original, internal punctuation omitted) (quoting Walter Kidd Portable
Equip., Inc. v. Universal Sec. Instruments, Inc., 479 F.3d 1330, 1342 (Fed. Cir. 2007)); see also
Harden v. Field Mem’l Cmty. Hosp., 265 Fed. App’x 405, 407-8 (5th Cir. 2008) (“[W]e find that
the district court did not err by first resolving its jurisdictional concern … before ruling on her
Rule 41(a)(2) motion.”). Plaintiffs therefore file this Notice and seek the Court’s direction on
how to proceed.

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to the absence of a continuing case or controversy.” Bd. of License Comm’rs v.

Pastore, 469 U.S. 238, 240 (1985); see also Alvarez Perez v. Sanford-Orland Kennel

Club, Inc., 518 F.3d 1302, 1304 (11th Cir. 2008) (admonishing counsel for failing

to disclose facts that raise a question of mootness). “A case is moot when events

subsequent to the commencement of a lawsuit create a situation in which the court

can no longer give the plaintiff meaningful relief.”                 Jews for Jesus, Inc. v.

Hillsborough Cnty. Aviation Auth., 162 F.3d 627, 629 (11th Cir.1998); see also

Philippeaux v. Apartment Inv. & Mgmt. Co., 598 F. App'x 640, 642–43 (11th Cir.

2015) (“Article III of the United States Constitution limits the jurisdiction of federal

courts to case and controversies, and a federal court has no authority to give opinions

upon moot questions.”) (internal punctuation omitted) (citing Zinni v. ER Solutions,

Inc., 692 F.3d 1162, 1167 (11th Cir. 2012)).

       When this case commenced, Plaintiffs Harvard, Burgess, Espinosa, Kendrick,

and Jeremiah Hill were indefinitely housed in long-term Restrictive Housing. ECF

1 at ¶¶ 13, 18, 29, 34, 40. Defendants subsequently transferred Ms. Harvard to the

general prison population in November 2020 (ECF 309 at ¶ 13),2 Mr. Burgess in

September 2019 (id. at ¶ 30), Mr. Espinosa in November 2019 (id. at ¶ 25), Mr.

Jeremiah Hill in January 2022, and Mr. Kendrick in July 2022. These Plaintiffs


2
 Ms. Harvard was initially transferred to a mental health unit for people in long-term Restrictive
Housing, but is now in a mental health unit for people in the general prison population.

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currently remain in the general prison population and are therefore no longer subject

to the solitary confinement conditions for which they sought injunctive relief.

      Despite these Plaintiffs’ transfers out of Restrictive Housing, this Court

retained jurisdiction over their putative class claims. See Stein v. Buccaneers Ltd.

Partnership, 772 F.3d 698, 707 (11th Cir. 2014) (explaining that the “relation-back

doctrine allows a named plaintiff whose individual claims are moot to represent class

members”); see also Amador v. Andrews, 655 F.3d 89, 99 (2nd Cir. 2011) (“We

conclude that the relation-back doctrine applies to the claims of the plaintiffs who

have been released and preserves their [injunctive] claims for adjudication for

purposes of a class action.”).

      The denial of class certification, however, raises the question of whether the

Court retains jurisdiction for these Plaintiffs’ claims because there is now no

meaningful injunctive or declaratory relief available to them as individuals. See,

e.g., Wahl v. McIver, 773 F.2d 1169, 1173 (11th Cir. 1985) (“Absent class

certification, an inmate’s claim for injunctive and declaratory relief in a section 1983

action fails to present a case or controversy once the inmate has been transferred.”)

(citing to Dudley v. Stewart, 724 F.2d 1493, 1494-95 (11th Cir. 1984)); Zeidman v.

J. Ray McDermott & Co., 651 F.2d 1030, 1045 (5th Cir. 1981) (“[A] suit brought as

a class action must as a general rule be dismissed for mootness when the personal




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claims of the named plaintiffs are satisfied and no class has properly been

certified.”).

       Accordingly, Plaintiffs file this Notice to inform the Court of the potential

non-justiciability of Plaintiff Harvard’s, Burgess’s, Espinosa’s, Kendrick’s, and

Jeremiah Hill’s individual claims and request a case management conference to

determine how this case will proceed.


Dated: September 2, 2022                Respectfully Submitted,


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                           Certificate of Word Limit

      The undersigned counsel certifies compliance with the word count limitations

set forth in Local Rule 7.1(F). This memorandum contains 1,112 words.




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